            Case: 1:09-cr-00140-SSB Doc #: 172 Filed: 03/16/15 Page: 1 of 1 PAGEID #: 1442
AO 247 (Rev. 11/11) Order Regarding Motion for Sentence Reduction Pursuant to 18 U.S.C. § 3582(c)(2)          Page Iof2(Page 2Not for Public Disclosure)

                                       United States District Court
                                                                        for the

                                                            Southern District of Ohio


                   United States of America
                                  v.                                      )
                       Gerardo Ramos-Meza                                 )
                                                                               Case No:       1:09-CR-140-03
                                                                          )
                                                                          ) USMNo: 04962-061                                _____
Date of Original Judgment:        08-17-2010                              )
Dateof Previous Amended Judgment:                                         ) Gordon G. Hobson, Esq.
(Use Date ofLastAmendedJudgment ifAny)                                         Defendant s Attorney


                  ORDER REGARDING MOTION FOR SENTENCE REDUCTION
                                          PURSUANT TO 18 U.S.C. § 3582(c)(2)
        Upon motion of X the defendant O the Director of the Bureau of Prisons • the court under 18 U.S.C.
§ 3582(c)(2) for a reduction in the term of imprisonment imposed based on a guideline sentencing range that has
subsequently been lowered and made retroactive by the United States Sentencing Commissionpursuant to 28 U.S.C.
§ 994(u), and having considered such motion, and taking into account the policy statement set forth at USSG §1B1.10
and the sentencing factors set forth in 18 U.S.C. § 3553(a), to the extent that they are applicable,
IT IS ORDERED that the motion is:
          O DENIED, x GRANTED and the defendant's previously imposed sentence of imprisonment (as reflected in
the lastjudgment issued) of 163 months       months is reduced to              130 months               .
                                             (Complete Parts I and II ofPage 2 when motion is granted)




Except as otherwise provided, all provisions of the judgment dated                    08-17-2010                 shall remain in effect.
IT IS SO ORDERED.

Order Date:                      _L
                        March /*, 2015
                                                                                                       Judge 5 signature


Effective Date:         November 1, 2015                                           Sandra S. Beckwith, Senior District Judge
                     (ifdifferentfrom order date)                                                 Printed name and title
